I              Case 8:05-cr-00294-JSM-TBM Document 89 Filed 03/28/06 Page 1 of 8 PageID 159
1
Y
    A 0 2.458 (Rw 12103) She& I -Judgment in a Criminal Case
                          -

                                   UNITED STA TES DISTRICT COURT
                                                           MIDDLE D I r n C T OF FLORIDA
                                                                TAMPA DMSIQN



    UNITED STATES OF AMERICA                                          3UDGMENT IN A CRIhENAL CASE

                                                                      CASE NUMBER: 8:05-cr-294-T-30TB.v
                                                                      USM NUMBER: 42954-018



    ARMANDO FLORES
                                                                      Defendant's Attorney: Connie Mederos-Jacobs and Richard Stopka, ret.

    THE DEFENDANT:

    X pleaded grulty to count(s) ONE (1) of the hdictraent.
    -pleaded no10 contendere to count(s) which was accepted by the Coua.
    - was found guilty on count(s) after a plea of not guilty.


    TITLE & SECTION                          NATURE OF OFFENSE                                  OFFENSE ENDED             COUNT

    21 U.S.C. $5 846 and                     Conspiracy to Possess With Intent to Distn'bute    June 14, 2005             One
    841 $bI(l)CAl(iij                        5 Kilograms or More of Cocaine


             The defendant is sentenced as providd in pages 2 through 6 of this judgment. The sentence is imposed pursuant lo the
    Senntencing Reform Act of 1984.

    - The defendant has been f w d not guilty on couat(s)
    -
    X Comt(s) TWO (2) of the Lndictment is dismissed an the motion of the United States.
    IT IS FURTHER ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any change
    of name, residence, or mailing addrtss until all fines, restitution, costs, and special assessments imposed by this judgment are fully
    paid.
    If ordered to pay restitution, the defendant shall notify the court and United States Attorney of any material. change in economic
    circumstances.


                                                                                        Date of Imposition of Sentence: March 24,2006




                                                                                        &D        STATES DISTRICT JUD$E


                                                                                        DATE: March    ;2 $,2W6
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A 0 245B (Rev 12/03) Sheet 2 - Imprisonment
Defendant:          ARMAND0 FLORES                                                                          Judgment - Page 2 of
Case No. :          8:05-cr-2%-T-30TBM




          After considering the advisory seiiteiicit~gguidelines a n d all of t h e factors identified in Title 18 U.S.C.
$9 3553(a)(l)-(7).the court finds that the sentence inlposed is sufficient, but not greater than necessary. to comply with
the statutory purposes of sentencing.


        The defendant is hereby committed to the custody of the United States Bureau of Prisons to be
iniprisonetl for a total term of SEVENTY (70) MONTHS as to Count One of the Indictmcnl.



-
X T h e court makes rhe following recommendations to the Bureau of Prisons: The defendant shall be placed in a correctional
institution located as close to Elkhart. Indiana as possible.



X The defendant is remanded to the custody of the United States Marshal.
-
- The defendant shall surrender to the United Stares Marshal for this district.
          - at - a.m.lp.n~.on -.
             as notified by the United States Marshal.

- The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons.
          - before 2 p.m. on -.
          - as notified by h e United States Marshal.
          - as notified by the Probation or Pretrial Services Office.




                                                                    RETURN

          I have executed this judgment as follows:




          Defendant delivered on                                                  to                                               at

                                                                        , with a certified copy of this judgment.



                                                                                        United States Marshal

                                                                     By:

                                                                     Deputy Marshal
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A 0 2458 (Rev. 12/03) Sheet 3 - Supervised Release

Defendant:            ARMANDO FLORES                                                                                Judgment - Page 3of 6
Case No.:             8:05-cr-294-T-30TB;M
                                                            SUPERVISED RELEASE

           Upon release f r o m imprisonment, tile defendant shall be o n supervised release f o r a t e r m of FIVE (5) YEARS as t o
C o u n t O n e of t h e Indictment.

           T h e defendant shall report to the probation office in the district to which the defendant is released within 72 hours of release
f r o m the custody of the Bureau of Prisons.

T h e defendant shall nor commit another federal. state, o r local crime. The defendant shall not illegally possess a controlled substance.
T h e defendant shall refrain from any unlawful use of a controlled substance.

 X         T h e defendant, having been convicted of a qualifying felony, shall cooperate in the colleclion of DNA as directed b y the
           probation officer.

             If this judgment imposes a fine o r a restitution it is a condition of supervised release that the defendant pay in accordance
             with the Schedule of Payments sheet o f this judgment.

             T h e defendant shall comply with the standard conditions that have been adopted by this court as well as with any additional
             conditions o n the attached page.

                                               STANDARD CONDITIONS OF SUPERVISION
  1)         the defendant shall not lea\-c the judicial district without the permission of the court or probation officer;

 2           the defendant shall report to the probation officer and shall submit a truthful and complete ufrittcn report within the first five days of each
             month;

 3           the defendant shall answer truthfully all inquiries by the probation officer and follo~vthe instructions of the probation officer;

 4)          the defendant shall suppon his or her dependents and meet other family responsibilities;

 5)          the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
             acceptable reasons;

 6)          the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;

 7)          the defendant shall refrain from excessi\feuse of alcohol and shall not purchase, possess, usc, distribute, or administer any controlled
             substance or any paraphernalia related to any controlled substances. except as prescribed by a physician;

  8)         the defendant shall not frequent places where controlled substances are illegally sold. used, distributed, or administered;

  9)         the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person eonvictcd of a
             felony. unless granted permission to do so by the probation officer;

  10)        the defendant shall permit a probation officer to \.isit him or her at any time at home or elsc\vhere and shall permit confiscation of any
             contraband observed in plain view of the probation officer;

  I I)       the defendant shall notify the probation officer within seventy-nvo hours of being arrestcd or questio~lcdby a law enforccmcnt officer;

  12)        the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
             pennission of the court;

  13)        as directed by the probation officer, the defendant shall notify third parries of risks that may be occasioricd by the defendant's criminal record
             or personal hisrory or characteristics and shall permit the probation officer to make such notifications and to confirm the defendant's
             compl~ancewith such not~ficat~on     requirement.
          Case 8:05-cr-00294-JSM-TBM Document 89 Filed 03/28/06 Page 4 of 8 PageID 162

A 0 245B (Rev. 12/03) Stleer 3C -Supervised Release

Defcndant :          ARMAND0 FLORES                                                                    Judgment - Page 4 of 6
Case No.:            8:05-cr-291-T-30TBM
                                             SPECIAL COI\;DITIOi\;S OF SI!'PERVTSION

          The defendant shall also comply with the following additional conditions of supervised release:

X
-          If the defendant be deported, he/she shall not be allowed to re-enter the United States without the express permission of the
           appropriate governmental authority.

-
X          The mandatory drug resting provisions shall apply pursuant to the Violent Crime Coiitrol Act. Bascd on the probarion
           officer's determination that additional drug urinalysis is necessary, the Court authorizes random drug testing not to exceed
           103 tests per gear.
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A 0 245B (Rev 12/03) Sheet 5   - Criminal hlonetary Penaltics
Defendant:           A R M A N D 0 FLORES                                                                  Judgment - Page 5 of 6
Case No.:            8:05-cr-294-T-30TBM

                                                   CRIRIINAL MONETARY PENALTIES

          The defendant must pay the total criminal monetary penalties under the schetlule of pay~nentson Sheet 6.
                                 Assessment                              -
                                                                         Fine                       Total Rrslittltio~~

          Totals:                $100.00                                 Waived                     N/ A


-         The determination of restitution is deferred until .                    An Antertded Jrrdgn~enrill n Crimirlol Cose ( A 0 245C) will
          be entered after such determ~nation.
-         The defendant must make restitution (including community restitution) to the follo\ving payees in the anlount listed
          below.
           If the defendant makes a partial. payment, each payee shall receive an approximately proportioned payment. unless
                                                                r
           specified otherwise In the priority order or: rcentage ayment column below. However, pursuant to 18 U.S.C. §
           3664(i). all nonfederal vict~mrmust be pal before ihePunited States.
                                                                                                                    I'riority Order or
                                                          *Total                     Amount of                      Percentage of
Name of Pavee                                           Amount of Loss            Restitution Ordered               l'avment




                                 Totals:                -
                                                        $                         S

-          Restitution amount ordered pursuant to plea agreement S
-          The defendant shall ay interest on any fine or restirution of more than $2,500, unless the restitution or fine is paid in full
                                    2
           before the fifteenth ay after the date of the judgment, ursuant to 18 U.S.C. 5 3612(D. All of the payment options on Sheet
                                                                         ?
           6 may be subject to penalties for delinquency and de ault. pursuant to 18 U.S.C. 8 3612(g).
-          The court determined that the defendant does not have the ability to pay interest and it is ordered that:
         -          the interest requirement is waived for the - f i e             - restitution.
         -          the interest requirement for the - f i e - restitution is moditled as follo\vs:


* Findings for the total amount of losses are required under Cha ters 109A. 110. IlOA, and 113A of Title 18 for the offenses
committed on or after September 13, 1994, but before April 23, 1 96.         B
        Case 8:05-cr-00294-JSM-TBM Document 89 Filed 03/28/06 Page 6 of 8 PageID 164
A 0 245B (Rev 12/03) Sheet G - Schedule of Payments




Having assessed the defendant's ability to pay. payment of the total criminal monetary penalties are due as follows:

A.      -
        X         Lump sum payment of S 100.00 is due inmediarely. balance due
                           -not later than                    . or
                           -in accordance - C. - D. - E or - F below; or
B.      -         Payment to begin immediately (may be combined with -C. -D, or -F below); or
C.      -         Payment in equal                 (e.g.. weekly. monthly. quarterly) installments of S             over a
                  period of'         (e.g., months or years). to commence              days (e.g., 30 or 60 days) after the
                  date of this judgment: or
D.      -         Payment in equal                (e.g., weekly. monthly, quarterly) installments of $               over a
                  period of
                               . (e.g., months or years) to conlrnence                   (e.g. 30 or 60 days) after release
                  from imprisonment to a term of supervision: or
E.      -         Payment during the term of supervised release will commence within                         (e.g., 30 or
                  60 days) after release from imprisonment. The court will set the payment plan based on an assessment of
                  the defendant's ability to pay at that time, or
F.      -         Special instructions regarding the payment of criminal monetary penalties:




Unless the court has expressly ordered otherwise, if this judgment imposes a period of imprisonment. payment of criminal
                                       e
monetary penalties is due during im risonment. All criminal monetary penalties, except those payments made through the
Federal Bureau of Prisons' lnmate inancial Responsibility Program. are made to the clerk of the court.
The defendant shall recei1.e credit for all payments previously made toward any criminal monetary penalties imposed.
-       Joint and Several
        Defendant and Co-Defendant Names and Case Numbers (including defendant number). Total Amount. Joint and
Several Amount. and corresponding payee, if appropriate:


-        The defendant shall pay the cost of prosecution.
-        The defendant shall pay the followirlg court cost(s):
X
-        The defendant shall forfeit the defendant's interest in the following property to the United States:
The Court orders that die defendant forfeit to the United States immediately and voluntarily any and all assets and roperty.
or portions thereof. subject to forfeiture. which are in the possession or control of the defendant or the de endant's
nominees, to include S280.045 in U.S. Currency. The preliminary order of forfeiture (doc. 67) is made a final order of
                                                                                                                              P
forfeirure and is made part of this judgment.



Payments shall be applied in the following order: (1) assessment. (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) conmunity restitution, (6) tine interest (7) penalties, and (8) costs, including cost of prosecution and court costs.
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                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                   TAMPA DIVISION


  UNITED STATES OF AMERICA,

         Plaintiff,

  v.                                        :   Case No. 8:05-cr-294-T-30TBM

  REYNALDO NAVA,
      a/k/a "Alfredo Rios"
  RAMON CARMONA-TORRES
  ARMAND0 FLORES

         Defendants.



                         PRELIMINARY ORDER OF FORFEITURE

         THIS CAUSE comes before the Court upon the filing of the Motion of the United

  States of America for entry of a Preliminary Order of Forfeiture (Dkt. #66), which, at

  sentencing, shall be a final order of forfeiture as to defendants Reynaldo Nava, Ramon

  Carmona-Torres and Armando Flores' right, title, and interest in property subject to

  forfeiture. The Court hereby finds that the United States has established the requisite

  nexus between the currency listed below and the drug conspiracy to which defendants

  Reynaldo Nava, Ramon Carmona-Torres and Armando Flores pled guilty pursuant to 21

  U.S.C. 55 846 and 84l(b)(l)(A)(viii), as charged in Count One of the Indictment:

                 (a)   $280,045.00 in United States currency.

  Therefore, this currency is subject to forfeiture pursuant to 21 U.S.C. § 853. Accordingly,

  it is hereby



                                          Page 1 of 2
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           ORDERED. ADJUDGED and DECREED that, for good cause shown, the Motion

  of the United States (Dkt. #66)is GRANTED. It is FURTHER ORDERED that all right, title

  and interest of defendants Reynaldo Nava, Ramon Carmona-Torres and Armando Flores

  in the currency identified above is hereby condemned and forfeited to the United States for

  disposition according to law, subject to the provisions of 21 U.S.C. 5 853.

           The Court shall retain jurisdiction to enter any orders necessary for the forfeiture and

  disposition of the asset, and to entertain any third party claims that may be asserted in

  these proceedings.

           DONE and ORDERED in Tampa, Florida on December 27,2005.




                                                                        S . lIOODY, JR
                                                                 1-3-ITED ST-ITES DISTRICT JVDGE

  C o ~ i e sto:
  Tonya L. Shotwell, AUSA
  Attorneys of Record
  F:\Docs\2005\05~-294.Prelirninary Order Fotfeiire.wpd




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